Case 2:12-cr-20218-SFC-MKM ECF No. 46, PageID.253 Filed 09/11/12 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,                                   CASE NO. 12-20218
                                                            HON. LAWRENCE P. ZATKOFF
v.

D-3 JUSTON LABARON YOUNG,

            Defendant.
_________________________________/


                             ORDER GRANTING
                     MOTION FOR APPOINTMENT OF EXPERT
                 AND ADJOURNMENT OF FINAL PLEA CONFERENCE

                            AT A SESSION of said Court, held in the
                       United States Courthouse, in the City of Port Huron,
                        State of Michigan, on the 11th of September, 2012

       On September 11, 2012, Defendant filed a Motion for the Appointment of Expert and to

Adjourn Trial (Docket #45), motion in which the Government concurs. The Court, having reviewed

and considered Defendant’s Motion, finds that the interests of justice favor granting Defendant’s

motion in order to determine whether Defendant is competent to stand trial. Specifically, the Court

finds that “there is reasonable cause to believe that [D]efendant may presently be suffering from a

mental disease or defect rendering him mentally incompetent to the extent that he is unable to

understand the nature and consequences of the proceedings against him or to assist properly in his

defense.” Accordingly, the Court:
Case 2:12-cr-20218-SFC-MKM ECF No. 46, PageID.254 Filed 09/11/12 Page 2 of 2




               1.     GRANTS Defendant’s Motion for the Appointment of Expert and to Adjourn
                      Trial (Docket #45);

               2.     ORDERS that Defendant submit to a psychiatric or psychological
                      examination, see 18 U.S.C. §§ 4241 and 4247(b), and that Defendant file
                      with the Court the psychiatric or psychological report prepared in
                      conjunction with that examination, see 18 U.S.C. § 4247(c); and

               3.     ADJOURNS the Final Plea Conference until such time as ordered by the
                      Court after receiving the psychiatric or psychological report on Defendant.

       IT IS SO ORDERED.

                                             S/Lawrence P. Zatkoff
                                             LAWRENCE P. ZATKOFF
                                             UNITED STATES DISTRICT JUDGE

Dated: September 11, 2012

                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of record
by electronic or U.S. mail on September 11, 2012.


                                             S/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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